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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
AES/DGR                                          271 Cadman Plaza East
F. #2016R000467                                  Brooklyn, New York 11201



                                                 February 23, 2022

By ECF and E-mail

The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Ng Chong Hwa
                     Criminal Docket No. 18-538 (S-2) (MKB)

Dear Chief Judge Brodie:

               On February 15, 2022, the undersigned prosecutors (the “Case Team”)
discussed with the Court a production of documents that was made to the defendant on
February 14, 2022, which was comprised in part of documents from email accounts and a
laptop belonging to Tim Leissner that had been reviewed and released for production by a
privilege review team of Department of Justice (“DOJ”) trial attorneys of the Criminal
Division (the “Privilege Team”). At that time, the Court asked the Case Team whether the
Privilege Team was still reviewing information related to Leissner, and whether all
nonprivileged information related to Leissner had been produced to the defendant. Based on
multiple representations made by the Privilege Team to the Case Team over several months,
the Case Team in turn represented to the Court that the Privilege Team had completed its
review of these materials, and that all nonprivileged documents had been produced to the
defendant. The Case Team followed up again with the Privilege Team on the evening of
February 15, 2022, and were again told that the review had been completed and there were
no Leissner-related documents left to produce.

              This evening at approximately 10:30 p.m., the Case Team learned that the
Privilege Team failed to produce to either the defendant or the Case Team approximately
15,500 documents held by the Privilege Team related to Leissner that were not privileged
(the “Nonprivileged Documents”). The basis for the Case Team’s prior representations to
the defendant and to the Court are set forth below.
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              The Case Team has directed the Privilege Team to release for immediate
production the Nonprivileged Documents. In addition, the Case Team has escalated the
matter to a DOJ attorney who supervises the Privilege Team, who will oversee that
production and ensure that the Privilege Team has not retained any other nonprivileged
documents. Given the hour, the Case Team has not yet received an exact time when the
Privilege Team will produce the Nonprivileged Documents to the defendant and the Case
Team, but the Case Team has requested the production be prepared overnight, and expects to
have an update in the morning.

              The error by the Privilege Team is inexcusable. The Case Team will consent
to a reasonable adjournment of the trial prior to the cross-examination of Leissner to permit
the defendant to review the Nonprivileged Documents.

                                             ***

                On November 15, 2021, in connection with the Case Team’s preparation for
trial, the Case Team requested, and received, information from the Privilege Team
concerning documents retained by the Privilege Team from search warrants on Leissner’s
email accounts. At that time, the Privilege Team informed the Case Team that the remaining
materials from the Leissner materials included a segregated set of approximately 19,922
potentially privileged documents. On November 17, 2021, the Case Team directed the
Privilege Team to conduct a priority review of those documents, and the Case Team
underscored at that time that, given the upcoming trial, the Case Team needed the documents
from the Privilege Team as soon as possible. The Case Team thereafter remained in
communication with the Privilege Team about the status of its review of those documents.

               On December 20, 2021, defense counsel submitted a letter to the Case Team
and the Privilege Team requesting additional information about material withheld from the
Case Team by the Privilege Team. In that letter, counsel inquired about the remaining
materials related to Leissner. After receiving the letter, the Case Team received an update
from the Privilege Team that the priority review of the segregated set of Leissner search
warrant materials was still pending. An expedited review of those documents was conducted
that day and, on December 21, 2021, the Privilege Team identified 15,500 non-privileged
documents that could be released to the Case Team.

               On December 23, 2021, the Case Team spoke with defense counsel and
discussed the remaining items to be released from the Privilege Team, including the 15,500
non-privileged Leissner search warrant documents.

               On December 27, 2021, the Case Team asked the Privilege Team for a status
report on the production of the materials discussed with defense counsel on December 23,
2021, including the 15,500 non-privileged Leissner search warrant documents. The Case
Team followed up again on December 29, 2021. On December 30, 2021, the Privilege Team
responded to the Case Team’s inquiries, explaining that in finalizing its work, reviewers
flagged additional identifiers for communications with attorneys and proposed using those


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additional identifiers to remove any additional privileged communications and allow for the
release of the remaining documents to the Case Team. The Case Team agreed with that
proposal and directed the Privilege Team to produce the remaining non-privileged
documents to the Case Team. Subsequently, the Privilege Team made productions to the
Case Team of materials that had been held by the Privilege Team, which were provided
promptly to the defendant.

               On January 19, 2022, defense counsel requested additional information
concerning the Privilege Team’s review of documents concerning Leissner. The Case Team
thereafter conferred with the Privilege Team who confirmed that, with the exception of
approximately 1,700 items from Leissner’s laptop—which it was working to complete at that
time—its review of Leissner materials had been completed and any nonprivileged documents
would be released to the Case Team and the defendant.

              Prior to jury selection in this matter, the Case Team again asked the Privilege
Team to confirm that it completed the entirety of its review of the Leissner materials in its
possession and released those documents to the Case Team for production. At that time, the
Privilege Team confirmed that it had in fact completed that review and released that material
for production. Thereafter, the Case Team received additional document releases from the
Privilege Team, which productions were subsequently made to the defendant on January 28,
2022 and February 14, 2022.

               On February 22, 2022, the Privilege Team confirmed that the Privilege Team
never released the 15,500 documents to the Case Team as directed and, therefore, that its
prior representations to the Case Team were not accurate.

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              The Case Team will be prepared to discuss the foregoing matters with the
Court in the morning.


                                                        Respectfully submitted,

       BREON PEACE                                      DEBORAH L. CONNOR
       United States Attorney                           Chief, Money Laundering and Asset
       Eastern District of New York                     Recovery Section, Criminal Division
                                                        U.S. Department of Justice

 By:    /s/ Alixandra Smith                       By:     /s/ Jennifer Ambuehl
       Alixandra E. Smith                               Jennifer E. Ambuehl
       Drew G. Rolle                                    Trial Attorney
       Dylan A. Stern
       Assistant U.S. Attorneys

       JOSEPH S. BEEMSTERBOER
       Acting Chief, Fraud Section,
       Criminal Division
       U.S. Department of Justice


 By: /s/ Brent Wible                      n
     Brent Wible
     Trial Attorney




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